Case 4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10APPEAL, Page 1 of 40
                                                                             RELEASED
                                    U.S. District Court
           U.S. District Court for the Northern District of Oklahoma (Tulsa)
        CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF             All Defendants

    Case title: USA v. Springer et at                              Date Filed: 03/10/2009
    Other court case number: 09-5165 10th Circuit Court            Date Tenninated: 04/30/2010

    Assigned to: Judge Stephen P Friot
   Appeals court case number:
   '10-5055 (#340)' '10th Circuit'

   Defendant (1)
   Lindsey Kent Springer                   represented by Lindsey Kent Springer
   TERMINATED: 04/28/2010                                 David L Moss Criminal Justice Center
                                                          300 N DENVER
                                                          TULSA, OK 74103
                                                          918-748-5539
                                                          Fax: 918-247-4249
                                                          Email: lind~ey@mind!\prinV" com
                                                          PROSE

                                                          Robert Scott Williams
                                                          Taylor Ryan Schmidt &Van Dalsem, P.c,
                                                          1437 S BOULDER STE 850
                                                          TULSA, OK 74119
                                                          918-749-5566
                                                          Fax: 918-749-9531
                                                          Email: law@trsvlaw.com
                                                          TERMINATED: 04/27/2010
                                                          LEAD ATTORNEY
                                                          Designation: Public Defender or Community
                                                          Defender Appointment

   PendiDIl CO!Jnts                                       Di$1)OSition
   18 USC 371: Conspiracy to
   Defraud the United States                              BOP 60 months; SR 3 years; Restitution $771 ,529;
                                                          SMA $100
   (1)
   26 USC 7201: Tax Evasion                               BOP 60 months consecutive to Ct 1; SR 3 years;
   (2)                                                    SMA $100
   26 USC 720 I: Tax Evasion and 18
   USC2                                                   BOP 60 months consecutive to Ct 12 SR 3 years;
                                                          SMA $100
   (3)
   26 USC 7201: Tax Evasion and 18
   USC2                                                   BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
                                                          SMA $100
   (4)
   26 USC 7203: Failure to File Tax
   Return                                                 BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
                                                          SMA $25
   (5-6)

   Hi2best Offense ~vel (O-penina:)
   Felony

   T~rminated ~9unR                                       Disnosition
   None
Case 4:09-cr-00043-SPF
   HieJaest Offense Level Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 2 of 40
   (l'enni..-ted)
   None

   COJUP'.in~
   None


   Assigned to: Judge Stephen P
   Friot

   Appeals court case nwnher:
   '10-5057 (#348)' '10th Circuit'

   Defendant (2)
   Oscar Amos Stilley                represented by Oscar Amos Stilley
   TERMINATED: 04/28/2010                           David L Moss Criminal Justice Center
                                                    300NDENVER
                                                    TULSA, OK 74103
                                                    479-573-0726
                                                    Fax: 479-573-0647
                                                    PROSE

                                                   Charles Robert Burton, IV
                                                   Burton Law Firm PC
                                                   320 S BOSTON STE 2400
                                                   TULSA, OK 74103-4700
                                                   918-582-5100
                                                   Fax: 918-584-1425
                                                   Emai1: RobtRprtpn@.aol com
                                                   TERMINATED: 04/27/2010
                                                   LEAD AITORNEY
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

                                                   Oscar Amos Stilley
                                                   David L Moss Criminal Justice Center
                                                   300NDENVER
                                                   TULSA, OK 74103
                                                   479--996-4109
                                                   Fax: 479-996-3409
                                                   Email: oscar@oscarstill~y.com
                                                   LEAD AITORNEY
                                                   AITORNEY TO BE NOTICED
                                                   Designation: Waived or Self (Pro Se)

                                                   Terry Lee Weber
                                                   Weber &Assoc PC
                                                   320 S BOSTON STE 825
                                                   TULSA, OK 74103
                                                   918-582-1910
                                                   Fax: 918-582-2015
                                                   Email: ten:y.Weber@morelaw.con)
                                                   TERMINATED: 04/03/2009
                                                   LEAD AITORNEY
                                                   ATrORNEY TO BE NOTICED
                                                   Designation: CIA or Other Appointment

   P~n4in& Counts                                  Diq,osition
   18 use 371: Conspiracy to                       BOP 60 months; SR 3 years; Restitution $776,280;
   Defraud the United States                       SMA $100
Case(1)4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 3 of 40
    26 use 720 I; Tax Evasion and 18
    USC2                                                           BOP 60 months consecutive to Ct 1 and each other;
                                                                   SR 3 years; SMA $100
    (3-4)

    Htgh~t pffens, L~weI (Oneni"t!)
    Felony

    Terminated Counts                                              Di~osition
    None

    lIflJlest Offense Level
    (Terminated)
    None

    <::Qmplaints                                                   Di~position
    None


    Plaintiff
    USA                                                     represented by Charles Anthony O'Reilly
                                                                           US Department of Justice (Box 972)
                                                                           POBox 972
                                                                           Washington. DC 20044
                                                                           202-616-0115
                                                                           Email: charles.a.o.reilly@u...ldojllo~
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                                Kenneth P Snoke
                                                                                United States Attorney's Office (Tulsa)
                                                                                110 W 7TH S1 STE 300
                                                                                TULSA. OK 74119-1013
                                                                                918-382-2700
                                                                                Fax: 918-560-7946
                                                                                Email: ken.snoke@usdQj.iOv
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

     DateSUMMONS
     Clk)
           Filed Docket
          MOTION
     Stilley
             SUMMONS
             DEFENDANT
           INDICTMENT
            (Entered:
     Springer
     3-4
     03/18/2009)
        to (PH.Dpty
     count(s)
     Lindsey
     as       (PH.Dpty
                            Text by
                      forIssued
                          Electronic
                           Issued
                             by  USA
                       03/10/2009)
                (PH.Dpty
                       Clk)
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                Kent
            Lindsey         Clk)
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                          Clk)
                      Springer.
                     Kent
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                                      (:)
                                       Court
                              INFORMATION
                                       as
                                 (Entered:
                                 Oscar
                            Springer
                                              by as
                                             Clerk
                                          toDpty
                                             Lindsey
                                       03/10/2009)
                               (Entered:
                                                      to Oscar
                                                  Lindsey
                                            03/10/2009)
                                          03/10/2009)
                                        Amos
                                      (sjm,    Stilley  (2)
                                                        (pH,
                                                               Amos
                                                            Kent
                                                               by Springer
                                                     as to Lindsey
                                                  SHEET(S)
                                                  Clk)Kent  count(s)
                                                             Dpty
                                                         (Entered:
                                                                    Kent
                                                                   USA
                                                             Springer   as to
                                                                     1,(1)
4:09-cr-00043-SPF
    03/18/2009
                  Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 4
                             MOTION for In Camera Review of Fifth Amendment
                             Proffer by Lindsey Kent Springer (sjm, Dpty Clk)
                             (Entered: 03/18/2009)
   03/18/2009                BRIEF in Support of Motion (Re:..Q MOTION for In
                             Camera Review of Fifth Amendment Proffer) by Lindsey
                             Kent Springer (sjrn. Dpty Clk) (Entered: 03/18/2009)
   03/18/2009                  OTION for Bill of Particulars by Lindsey Kent Springer
                            (sjrn. Dpty Clk) (Entered: 03/18/2009)
   03/18/2009               MINUTE ORDER by Judge Payne, due to Court conflict,
                            recusing Judge James H Payne, this case is hereby
                             returned to the Court Clerkfor further reassignment,
                             Court Clerk reassigned to case as to Lindsey Kent
                             Springer, Oscar Amos Stilley (PH, Dpty Clk) (Entered:
                             03/18/2009)
   03/18/2009           .lQ I MINUTES of Proceedings - held before Magistrate Judge
                              Paul J Cleary: Initial Appearance held on 3/18/2009,
                              Arraignment held on 3/18/2009, appointing CJA attorney
                              Robert Scott Williams for Lindsey Kent Springer,
                              setting/resetting bond as to Lindsey Kent Springer (Court
                              Reporter: Cl) (kjp, Dpty Clk) (Entered: 03/18/2009)
   03/18/2009               ORDER by Magistrate Judge Paul J Cleary (jor purposes
                            of initial appearance only), appointing CJA attorney as to
                            Lindsey Kent Springer (kjp, Dpty Clk) (Entered:
                            03/18/2009)
   03/18/2009               ORDER by Magistrate Judge Paul J Cleary, setting
                            conditions of release as to Lindsey Kent Springer (kjp,
                            Dpty Clk) (Entered: 03/18/2009)
   03/18/2009               BOND approved by Magistrate Judge Paul J Cleary as to



   03/18/2009
                                      ---------
                            Lindsey Kent Springer (kjp, Dpty Clk) (Entered:
                            03/18/2009)

                        H IMINUTES of Proceedings - held before Magistrate Judge
                            Paul J Cleary: Initial Appearance held on 3/18/2009,
                            Arraignment held on 3/18/2009, appointing CJA attorney
                            Terry Lee Weber for Oscar Amos Stilley, setting/resetting
                            bond as to Oscar Amos Stilley (Court Reporter: Cl) (kjp,
                            Dpty elk) (Entered: 03/18/2009)
   03/18/2009           U. I ORDER by Magistrate Judge Paul J Cleary (jor purposes
                            of initial appearance only), appointing CJA attorney as to
                            Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/18/2009)
   03/18/2009           l.2 IORDER by Magistrate Judge Paul J Cleary, setting
                            conditions of release as to Oscar Amos Stilley (kjp, Dpty
                            Clk) (Entered: 03/18/2009)
   03/18/2009           11 I BOND approved by Magistrate   Judge Paul J Cleary as to
                            Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/18/2009)
   03/19/2009               ORDER by Magistrate Judge Paul J Cleary directing
                            defendants regarding representation, setting/resetting
                            deadline(s)/hearing(s): (copy of Order mailed to both
                            defendants on 3/19/09) (Miscellaneous Deadline set for
                            3/30/2009) as to Lindsey Kent Springer, Oscar Amos
                            Stilley (kjp, Dpty elk) (Entered: 03/19/2009)
   03/23/2009               RESPONSE (Re:...a MOTION for Bill ofParticulars~
                            MOTION for Electronic Access..1 Brief in Support of
                            Motion,.,Q MOTION for In Camera Review of Fifth
                            Amendment Proffer) by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered:
4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 5
         MINUTE ORDER
         MINUTES
         MOTION
      Paul
      Kent
          MINUTE
      04/02/2009)
      him
      Amos
      03/31/2009)
      Clk)
      (Williams.
      04/07/2009)
      (Entered:
      Chief
      Attorney(
      for
      MOTION
      Hearing
      Judge
      Stephen
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                 ORDER
            (Re:..2QMOTION
      defendants    04/01/2009)
             J(Entered:
                      Robert)
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                    Oscar
                Cleary:
               Springer,
               Judge
               Springer
          Lindsey
                Pauls)
                  set
                  P       (Re:.2
      deadline(s)/hearing(s)
      (Court
      Oscar
      and  #21
      ruling
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      Springer,  Reporter:
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                     Judge Oscar
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                        Kent
      motion(s)/document(s):
      Lindsey
      Osear
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      re
      to Scott
         remove   Kent
                Stilley
                  Counsel,
         Representation;     Oscar
                    03/24/2009)
                         Claire
                     Friot.        V.
                            (Williams.
                              Lindsey
                         Cleary)
                           Protective
                           Springer,
                          (kjp,
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                  Williams..2J.
                Amos reference
                         Stilley Dpty
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                            04/03/2009)
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                    motion(s)/document(s):
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                     Oscar             as
                           (Re:-2QMOTION
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                               Stilley
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                                     Amos
                                Springer,
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                                             Correction:
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                                               Lindsey
                                               on Hearing
                                            Robert)
                                            attorney
                                           Order)
                                       Clerk at Stilley
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                                              Lindsey
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                                                      3/25/2009
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                                                            Paul
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                                                   Clk)   Withdraw
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                                                                   Scott
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                                                                       Springer,
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                                                                  Clk)
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                                                                          reference
                                                                          Charles)
                                                                        aLindsey
                                                                  Springer,
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                                                              select as             text
                                                                                   Oscar
                                                                          Attorney(s)
                                                                         (Entered:
                                                                           (Re:..25.
                                                                         03/25/2009)
                                                                           not   name
                                                                           3/30/2009
                                                                              Clk)
                                                                            3/25/2009
                                                                      Burton,
                                                                          as
                                                                         to  Williams
                                                                             ruling
                                                           striking/terminating
                                                        Clk)Stilley
                                                             Kent
                                                              Counsel,
                                                            (tjc.
                                                              (Entered:
                                                                   Dpty(kjp,
                                                                03/25/2009)
                                                                     Springer
                                                                03/24/2009)Clk).  IV
                                                                           Magistrate
                                                                           Kent
                                                                              Lindsey
                                                                              to
                                                                           case, Oscar
                                                                                 case,
                                                                                   all  to by
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                                                                                   Williams
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                                                                                       #20
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4:09-cr-00043-SPF
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    04/07/2009 ((.ll1 .ll
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                      31)1
                      3.ll
                      34.       Document
                       lQ'jJI,IIMOTION
                      ll}1      ORDER   for
                                      byto  367-1
                                            Protective
                                        Request
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                                            Bill of
                                           ClarifY
                                          Judge   for Filed
                                                        Order
                                                      ReleaseinPending
                                                    Document(s)
                                                    Particulars  USDC
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                                                          P Friot Affidavit
                                                             Friot,
                                                    appointment
                                                 Stephen           in
                                                                  of Oscar  ND/OK
                                                                           Prospective
                                                                       03-CR-Amos
                                                                               and55E   on 06/01/10
                                                                                    Transcript
                                                                                     Stilley
                                                                     setting/resetting
                                                                    :ruling
                                                                      settingonMotion
                                                                      Honorable        (Re:..15.
                                                                                       for
                                                                                    Judge    as     Page 6
     MOTION
     AFFIDAVIT
     Oscar)
     at
     Clk)
     04/15/2009)
     Stephen
     Lindsey)
     surrounding
     03-CR-
     Oscar
     Deadline(
     Proffer)
     (pH,
     Amos Dpty
     03-CR-055-CVE
          to    as
     attachments) for
             (Entered:
          (Entered:
               P55E
            MOTION
            Amos  Friot)
                 Clk)
                   to
              Lindsey
                  Request(39.1
                        In
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              Hearing,.1§.
     DeadIine(s)/Hearing(s»
     appointment            Camera
          deadline(s)/hearing(s):
     Franks
     Lindseysurrounding
              Hearing)
               Kent
     04/08/2009)
     Permit
     Particulars,.22
           Franks
             Oscar      Springer
                      Hearing
                (Entered:     by
                        Stilley
                         Order""
                              to
                           Kent
          motion(s)/document(s):
            Stilley
             hearing     Lindsey     t40"iNOTICE
                                   MOTION
                                  Judge
                                issuance Review
                                 MATERlALS
                            04/10/2009)
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                                  MOTION
                                    Lindsey
                                   to
                            (Re:...B.
                     issuance
                 s)/Hearing( for04/13/2009)
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                          (Entered:
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                          Honorable
                               Dpty        Stephen
                                        Lindsey)
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                                  Lindsey
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                                    Springer,
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                                        Clk)
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                                                  Unopposed
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                                        SettingfResetting
                                          Lindsey
                                             by Kent  for
                                                   Order
                                                  PendingFifth
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                                                   Warrant
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                                               Springer,
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                                                  CM/ECF
                                                      Kent Warrant
                                                           Bill
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                                                           Oscar
                                                     Lindsey
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                                                  of
                                           (Re:..JJ.MOTION
                                           Judge
                                             to
                                             Dpty
                                               #28
                                               (Entered:
                                                 Lindsey   Amos
                                                     Affidavit
                                                     Granted
                                                     Stephen
                                                     Clk)         Motion
                                                                Amendment
                                                                 CASE
                                                                   (Re:...11
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                                                            04/08/2009)
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                                                                    Springer,
                                                                    Friot
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                                                                                 9.15.05
                                                                               Stilley
                                                                               (Stilley,
                                                                             )for          byUnsealing of
                                                                                  of4/22/2009
                                                                                    to    to
        10:00
     ConferenceAM
            hearing   before
                      Stilley
                    set  on
                          for 4/22/09
           deadIine(s)/hearing(s):(Snoke,
                               4/22/2009  (Re:.1Q
                                         04/07/2009)
                                              Kenneth)
                                                at 10:00
                                                (Motion   Friot,
                                                      MOTION       Scheduling
                                                           (Entered:
                                                            AM      to Clarify
                                                                  before
                                                            Hearing    set  Judge
           Search
            LIMITED
           Stephen    Warrant        and
                             UNSEALING
                        P. Friot          Affidavit
                                      by Lindsey        and
                                                    OFKent    Materials
                                                         SEARCH
                                                              Springer      from
                                                                       WARRANT
                                                                           (Springer,Case
4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 7
                             03-CR-043-CVE (Re:.12 MOTION Unopposed Motion
                             for Limited Unsealing of Search Warrant and Affidavit
                             and Materials from Case 03-CR-Q55-CVE ) by USA as
                             to Lindsey Kent Springer, Oscar Amos Stilley (With
                             attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
    04/1612009              ORDER by Judge Stephen P Friot setting Motion for
                            Hearing on 4/22/09 (Re:.12 MOTION Unopposed Motion
                            for Limited Unsealing of Search Warrant and Affidavit
                            and Materials from Case 03-CR-055-CVE ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                            elk) (Entered: 04/16/2009)
    O4/l6/2009              RESPONSE in Opposition to Motion Consolidated (Re:
                            .ll MOTION Request for Release of Affidavit and
                            Transcript surrounding issuance of Search Warrant dated
                            9. 15.05".ll MOTION for Bill ofParticulars....B.MOTION
                            for Bill ofParticulars~  MOTION for Protective Order
                            Pending Prospective Franks Hearing~      MOTION to
                            ClarifY appointment of Honorable Judge Stephen P. Friot,
                            ~ MOTION for In Camera Review of Fifth Amendment
                            Proffer,..12 MOTION to Unseal Document(s) in
                            03-CR-55E) by USA as to Lindsey Kent Springer,
                            Oscar Amos Stilley (With attachments) (O'Reilly,
                            Charles) (Entered: 04/16/2009)
    04/22/2009          ~~ MINUTES of Proceedings - held before Judge Stephen P
                           Friot: Motion Hearing held on 4/22/2009, Scheduling
                           Conference held on 4/22/2009, ruling on
                           motion(sYdocument(s): #30 Granted, #6, 8, 33 Denied,
                           #36, 37, 39 Granted in Part, Denied in part, taking
                           motion( s) under advisement, setting/resetting
                           deadline(s)/hearing(s): (Motions due by 6/1/2009,
                           Responses due by 6/15/2009, Motion Hearing set for
                           7/9/2009 at 09:00 AM before Judge Stephen P Friot, Jury
                           Instructions, Voir Dire &Trial Briefs due by 8/3/2009,
                           Pretrial Conference set for 10/21/2009 at 10:00 AM
                           before Judge Stephen P Friot, Jury Trial set for
                            10/26/2009 at 09:30 AM before Judge Stephen P Friot) as
                           to Lindsey Kent Springer, Oscar Amos Stilley (Re:.11.
                           MOTION Request for Release of Affidavit and Transcript
                           surrounding issuance of Search Warrant dated 9.15.05..;ll
                           MOTION for Bill ofParticulars....8.MOTION for Bill of
                           Particulars..12 MOTION Unopposed Motion for Limited
                           Unsealing of Search Warrant and Affidavit and Materials
                           from Case 03-CR-Q55-CVE...JJ. MOTION for Protective
                           Order Pending Prospective Franks Hearing,.:JSJ. MOTION
                            to ClarifY
                            Friot...Q  appointment
                                      MOTION    for InofCamera
                                                        Honorable Judgeof Stephen
                                                               Review     Fifth P.
                            Amendment Proffer""J,QMOTION to Unseal Document(s)
                            in 03-CR- 55E) (Court Reporter: Tracy Washbourne)
                            (pH, Dpty Clk) (Entered: 04/22/2009)
   04/27/2009               REPLY to Response to Motion (Re:...ll MOTION for
                            Protective Order Pending Prospective Franks Hearing)
                            by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                            04/27/2009)
   04/29/2009           ~ ~ ORDER by Judge Stephen P Friot, setting/resetting
                            deadline(s)/hearing(s): (Responses due by 5/11/2009)
                            (Re:M Reply to Response to Motion) as to Lindsey Kent
                            Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified
                            on 5/1/2009 to seal PDF, as ENTERED IN ERROR;
                            duplicate entry see Doc #M for correct entry (tjc, Dpty
                            Clk). (Entered: 04/30/2009)
4:09-cr-00043-SPF
    04/30/2009          ~l
                  Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 8
                             ORDER by Judge Stephen P Friot directing surrep/y (Re:
                             ~ MOTION for Protective Order Pending Prospective
                             Franks Hearing,,M. Reply to Response to Motion) as to
                             Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                             04/30/2009)
   05/0112009               NOTICE of Docket Entry Modification; Error: Duplicate
                            entry, ENTERED IN ERROR; Correction: Sealed PDP as
                            this was a duplicate entry~ see Doc #~ for correct entry
                            (Re:Afi Order" SettinglResetting Deadline(s)/Hearing(s),
                            SettingIResetting Deadline(s)/Hearing(s),,) as to Lindsey
                            Kent Springer, Oscar Amos Stilley (ljc, Dpty Clk)
                            (Entered: 05/0112009)
   05/0112009               NOTICE of Request pursuant to Fed.RCr.Pr.Rule
                            16(a)(1)(G) as to Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 05/01/2009)
   05/06/2009               SURREPL Y to Motion (Re:..ll MOTION for Protective
                            Order Pending Prospective Franks Hearing) by USA as
                            to Lindsey Kent Springer (Snoke, Kenneth) (Entered:
                            05/06/2009)
   05/08/2009               MOTION to AcceleratelExtendIReset
                            Hearing(s)/Deadline(s) July 9, 2009, Hearing on Motion
                           for Franks Issue and/or Suppress (Re:..13.Minutes of
                            Motion Hearing""" Minutes of Scheduling
                            Conference""" Ruling on Motion( s)/Document(s), Ruling
                            on Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Ruling on
                            Motion(s)/Document(s), Taking Motion(s) Under
                            Advisement, Taking Motion(s) Under Advisement,
                            Taking Motion(s) Under Advisement, Taking Motion(s)
                            Under Advisement, Taking Motion(s) Under Advisement,
                            Taking Motion(s) Under Advisement, SettingIResetting
                            Deadline( s)/Hearing( s), SettingIResetting
                            Deadline( s)/Hearing( s), SettingIResetting
                            Deadline( s)/Hearing( s), SettingIResetting
                            Deadline( s)/Hearing( s), SettinglResetting
                            Deadline( s)/Hearing( s), SettingIResetting
                            Deadline(s)/Hearing(s» by USA as to Lindsey Kent
                            Springer, Oscar Amos Stilley (With attachments)
                            (O'Reilly, Charles) (Entered: 05/08/2009)
   05112/2009           ~ 1ORDER by Judge Stephen P Friot, ruling on
                            motion(s)/document(s): #49 Granted in Part,
                            setting/resetting deadline(s)/hearing(s): (Motion Hearing
                            set for 7/2/2009 at 09:00 AM before Judge Stephen P
                            Priot) (Re:3.2 MOTION to AcceleratelExtendIReset
                            Hearing(s)/Deadline(s) MOTION to
                            AcceleratelExtendIReset Hearing( s)/Deadline(s)
                            MOTION to AcceleratelExtendIReset
                            Hearing(s)/Deadline(s) MOTION to
                            AcceleratelExtendIReset Hearing(s)/Deadline(s) ) as to
                            Lindsey Kent Springer, Oscar Amos Stilley (pli, Dpty
                            elk) (Entered: 05112/2009)
   05115/2009               First MOTION to Dismiss
                            IndictmentlInformationiComplaintfor lack of venue (Re:
                            2. Indictment) by Lindsey Kent Springer (Springer,
                            Lindsey) (Entered: 05/15/2009)
   05/15/2009               First BRIEF in Support of Motion (Re:...ll First MOTION
                            to Dismiss IndictmentlInformationiComplaint for lack of
                            venue) by Lindsey Kent Springer (With attachments)
4:09-cr-00043-SPF Document 367-1   Filed in USDC ND/OK on 06/01/10 Page 9
                            (Springer, Lindsey) (Entered: 05/15/2009)
    05/1512009
                        (§)l.. Indictment/Infonnation/Complaintfor
                               Second MOTION to Dismiss            violations of
                              Paperwork Reduction Act of 1995 (Re:.1 Indictment) by
                              Lindsey Kent Springer (Springer, Lindsey) (Entered:
                              05/15/2009)
    05/15/2009
                        ~'.:5' MOTION
                                Second BRIEF    in Support
                                           to Dismiss      of Motion (Re;.,jl Second
                                                      Indictment/Information/Complaint
                               for violations of Paperwork Reduction Act of 1995 ) by
                                Lindsey Kent Springer (With attachments) (Springer,
                                Lindsey) (Entered: 05/15/2009)
    05/15/2009                Third MOTION to Dismiss
                              fudictment/Information/Complaint pursuant to CIR v.
                              Duberstein (Re:.1 Indictment) by Lindsey Kent Springer
                              (Springer, Lindsey) (Entered; 05/15/2009)
    05/15/2009               Third BRIEF in Support of Motion (Re:~ Third
                             MOTION to Dismiss fudictment!lnfonnation/Complaint
                             pursuant to CIR v. Duberstein ) by Lindsey Kent Springer
                             (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Fourth MOTION to Dismiss
                              Indictment!lnfonnation/Complaint for failure to allege tax
                              deficiency element (Re:.1 Indictment) by Lindsey Kent
                              Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Fourth BRIEF in Support of Motion (Re:..iZ Fourth
                              MOTION to Dismiss fudictment/Information/Complaint
                             for failure to allege tax deficiency element) by Lindsey
                              Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Fifth MOTION to Dismiss
                              fudictment/Information/Complaint on Fifth Amendment
                              Grounds (Re:.2. fudictment ) by Lindsey Kent Springer
                              (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Fifth BRIEF in Support of Motion (Re:22. Fifth MOTION
                              to Dismiss fudictment/Information/Complaint on Fifth
                              Amendment Grounds) by Lindsey Kent Springer
                              (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009
                        @)'.SixthMOTIONtoDiSmisscount(S)One,Two,Threeand
                              Four (Re:.2.fudictment ) by Lindsey Kent Springer
                              (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Sixth BRIEF in Support of Motion (Re:M Sixth
                              MOTION to Dismiss Count(s) One, Two, Three and Four
                              ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                              05/15/2009)
    05/15/2009               Seventh MOTION to Dismiss
                             Indictment/Information/Complaint for failure to allege
                             certain specific provisions (Re:.1 Indictment) by Lindsey
                             Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
    05/15/2009                Seventh BRIEF in Support of Motion (Re:M Seventh
                              MOTION to Dismiss fudictment/Information/Complaint
                             for failure to allege certain specific provisions) by
                              Lindsey Kent Springer (Springer, Lindsey) (Entered:
                              05/15/2009)
    05/15/2009               Eighth MOTION to Dismiss
                             fudictment/Information/Complaint violation of
                             Fourth/Fifth Amendment and Selective Prosecution (Re:.2,
                             Indictment) by Lindsey Kent Springer (Springer,
4:09-cr-00043-SPF     DocumentStilley367-1
         Oscar Amos Stilley (djh, Dpty
                                             FiledOscar)
                                          (Stilley,
                                       Clk)
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                                            (Entered:
                                                       USDC    ND/OK
                                                         Modified       on 06/01/10
                                                                  on 5/18/2009 to removePage 10
                                                          68
                                                          69by to  Lindsey)        (Entered:      05/15/2009)
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:09-cr-00043-SPF Document 367-1   Filed in USDC ND/OK on fraud
                           Indictment/Information/Complaintfor 06/01/10    Page 1
                                                                   and violation
                                of the 5th Amendment,.j2 Fifth MOTION to Dismiss
                                Indictmentiinfonnation/Complaint       on Fifth Amendment
                                Grounds,..fi1 Seventh MOTION to Dismiss
                                Indictmentiinfonnation/Complaint      for failure to allege
                                certain specific provisions.Jti.. JOINDER (in [51-66]
                                Generally dispositive filed on May 15, 2009)~          Third
                                MOTION to Dismiss Indictment!Information/Complaint
                                pursuant to CIR v. Duberstein,.j1 First MOTION to
                                Dismiss Indictmentiinfonnation/Complaint        for lack of
                                venue,2J, Second MOTION to Dismiss
                                Indictmentiinformation/Complaint      for violations of
                                Paperwork Reduction Act of 1995~ Eighth MOTION to
                                Dismiss Indictmentiinfonnation/Complaint         violation of
                                Fourth/Fifth Amendment and Selective Prosecution,.5.1.
                                Fourth MOTION to Dismiss
                                Indictment/Information/Complaint  for failure to allege tax
                                deficiency element,.Jil Sixth MOTION to Dismiss
                                Count(s) One, Two, Three and Four) by USA as to
                                Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                                Charles) (Entered: OS/29/2009)
    06/01/2009              12. I MOTION to Suppress Grand Jury testimony and evidence
                                by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                                06/01/2009)
    06/01/2009              73 I BRIEF in Support of Motion (Re: 72 MOTION to
                                 Suppress Grand Jury testimony and evidence) by Oscar
                                 Amos Stilley (With attachments) (Stilley, Oscar) (Entered:
                                 06/0 1/2009)
    06/01/2009                  MOTION to Suppress by Lindsey Kent Springer
                                (Springer, Lindsey) Modified on 6/2/2009; This is a
                                multi-part motion, see Doc # 77 for second event (tjc,
                                Dpty Clk). (Entered: 06/01/2009)
    06/01/2009                  BRIEF in Support of Motion (Re:..:M,MOTION to
                                Suppress and For Franks Hearing) by Lindsey Kent
                                Springer (With attachments) (Springer, Lindsey) Modified
                                on 6/2/2009 to seal parts 22,23 and 24 (s-srb, Dpty Clk).
                                (Entered: 06/02/2009)
    06/01/2009                  MOTION for Hearing (submitted as part of Doc #..l.1.) by
                                Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                                06/02/2009)
    06/02/2009                  AFFIDAVIT in Support of Motion (Re:..:M,MOTION to
                                Suppress and For Franks Hearing) by Lindsey Kent
                                Springer (Springer, Lindsey) {Entered: 06/02/2009)
    06/02/2009                  NOTICE of Docket Entry Modification; Error: Document
                                # 74 is a two-part motion, but not all parts were filed;
                                Correction: Filed the remaining motion part as Document
                                # 77 (Re:..:M,MOTION to Suppress) as to Lindsey Kent
                                Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
    06/02/2009                  SEALED MOTION (O'Reilly, Charles){Entered:
                                06/02/2009)
    06/02/2009                  SEALED ORDER (s-srb, Dpty Clk) Modified on
                                6/2/2009 to seal pdf and correct docket text(s-srb, Dpty
                                Clk) (Entered: 06/02/2009)
    06/15/2009                  RESPONSE in Opposition to Motion Consolidated (Re:
                                77 MOTION for Hearing (submitted as part of Doc #..l.1.),
                                12. MOTION to Suppress Grand Jury testimony and
                                evidence,:M. MOTION to Suppress) by USA as to
:09-cr-00043-SPF Document 367-1   Filed in USDC ND/OK on 06/01/10 Page 1
                           Lindsey Kent Springer, Oscar Amos Stilley (With
                              attachments)   (O'Reilly, Charles) (Entered: 06/15/2009)
   06/15/2009            .alll REPLY to Response to Motion to Dismiss (Re:2.2. Fifth
                              MOTION to Dismiss Indictment/Information/Complaint
                              on Fifth Amendment Grounds,.fJl Seventh MOTION to
                              Dismiss Indictment!Information/Complaint       for failure to
                              allege certain specific provisions,.jj Third MOTION to
                              Dismiss Indictment/Information/Complaint       pursuant to
                              CIR v. Duberstein,2l. First MOTION to Dismiss
                              Indictment!Information/Complaint      for lack of venue,21
                              Second MOTION to Dismiss
                              Indictment/Information/Complaint      for violations of
                              Paperwork Reduction Act of 1995,~ Eighth MOTION to
                              Dismiss Indictment!Information/Complaint        violation of
                              Fourth/Fifth Amendment and Selective Prosecution,2
                              Fourth MOTION to Dismiss
                              Indictment!Information/Complaintfor   failure to allege tax
                              deficiency element,M Sixth MOTION to Dismiss
                              Count(s) One, Two, Three and Four) by Lindsey Kent
                              Springer (With attachments) (Springer, Lindsey) (Entered:
                              06/15/2009)
   06/15/2009                 MOTION for Bill of Particulars by Lindsey Kent Springer
                              (Springer, Lindsey) (Entered: 06/15/2009)
   06/15/2009            83 I MOTION to AcceleratelExtend/Reset          Hearings/Deadlines
                              for filing of motion for bill of particulars by Oscar Amos
                              Stilley (Stilley, Oscar) Modified on 6/16/2009; this is a
                              two-event document and combined documents are not
                              allowed with CM/ECF; also changed text to reflect correct
                              motion event (sac, Dpty Clk). (Entered: 06/15/2009)
   06/16/2009            8:il MINUTE ORDER by Court Clerk, Having reviewed the
                              docket entry and/or PDF for Dkt # 83, the Court has
                              determined that this document contains two events and
                              combined documents are not allowed with CM/ECF.
                              Attorney Oscar Stilley is hereby directed to re-file his
                              Adoption, using that event. (Re:...83.MOTION to
                              AcceleratelExtend/Reset    Hearing(s )/Deadline( s)MOTION
                              to AcceleratelExtend/Reset   Hearing(s)/Deadline(s)  ) as to
                              Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/16/2009)
   06/17/2009            85 .J MINUTE ORDER by Judge Stephen P Friot,
                               setting/resetting deadline(s)/hearing(s):   (Motion Hearing
                               set for 7/2/2009 at 09:00 AM before Judge Stephen P
                               Friot), ruling on motion(s)/document(s):     #83 Denied (Re:
                               82 MOTION for Bill ofParticulars,JU        MOTION to
                               AcceleratelExtend/Reset     Hearing( s)/Deadline( s)MOTION
                               to AcceleratelExtend/Reset     Hearing( s)/Deadline( s) ) as to
                               Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                               Clk) (Entered: 06/17/2009)
   06/17/2009            &i 11 MOTION to Strike Document( s) (Re:..8.l Reply to
                              Response to Motion", ) by USA as to Lindsey Kent
                              Springer (O'Reilly, Charles) (Entered: 06/17/2009)
   06/18/2009                 ORDER by Judge Stephen P Friot, directing Sur-Reply,
                              ruling on motion(s)/document(s):     #86 Denied (Re:..8!i
                              MOTION to Strike Document(s),.,m, MOTION to Dismiss
                              Indictment!Information/Complaint      for fraud and violation
                              of the 5th Amendment,.j!l Fifth MOTION to Dismiss
                              Indictment!Information/Complaint       on Fifth Amendment
                              Grounds..fiJ. Seventh MOTION to Dismiss
                              Indictment/InformationiComplaintfor       failure to allege
                              certain specific provisions..2S.. Third MOTION to Dismiss
4:09-cr-00043-SPF Document 367-1   Filed in USDC ND/OKpursuant
                            Indictment!Infonnation/Complaint
                                                             on 06/01/10    Page 1
                                                                    to CIR v.
                                 Duberstein,.2l First MOTION to Dismiss
                                 Indictment/Information/Complaint for lack of venue..23.
                                 Second MOTION to Dismiss
                                 Indictment/InformationlComplaint  for violations of
                                Paperwork Reduction Act of 1995,M Eighth MOTION to
                                Dismiss Indictment/Information/Complaint    violation of
                                Fourth/Fifth Amendment and Selective Prosecution,.j]
                                Fourth MOTION to Dismiss
                                Indictment/Information/Complaintjor   failure to allege tax
                                deficiency element,.ft!. JOINDER of motions filed by
                                Lindsey Springer (in [51-66] Generally dispositive filed
                                on May 15, 2009),Jil, Sixth MOTION to Dismiss Count(s)
                                One, Two, Three and Four) as to Lindsey Kent Springer,'
                                Oscar Amos Stilley (pH, Dpty Clk) (Entered: 06/18/2009)
    06/18/2009                   SEALED MOTION (s-srb, Dpty Clk) Modified on
                                 6/19/2009 to correct event (s-srb, Dpty Clk). (Entered:
                                 06/19/2009_)                                  _
    06/19/2009                   SEALED MINUTE ORDER (s-srb, Dpty Clk) (Entered:
                                 06/19/2009)
    06/19/2009                  MOTION for Leave to Exceed Page Limitation by USA
                                as to Lindsey Kent Springer (Snoke, Kenneth) (Entered:
                                06/19/2009)
    06/23/2009                  ORDER by Judge Stephen P Friot, ruling on
                                motion(s)/document(s):    #90 Granted (Re: 90 MOTION
                                for Leave to Exceed Page Limitation,..Q1 MOTION to
                                Dismiss IndictmentJInformationiComplaintfor       fraud and
                                violation of the 5th Amendment..2l Fifth MOTION to
                                Dismiss Indictment/InformationiComplaint      on Fifth
                                Amendment Grounds..fiJ. Seventh MOTION to Dismiss
                                IndictmentJInformationiComplaintfor     failure to allege
                                certain specific provisions..2i Third MOTION to Dismiss
                                Indictment/InformationiComplaint    pursuant to CIR v.
                                Duberstein,~ First MOTION to Dismiss
                                IndictmentJInformationiComplaintfor      lack of venue,23,
                                Second MOTION to Dismiss
                                IndictmentJInformationiComplaint    for violations of
                                Paperwork Reduction Act of 1995, 65 Eighth MOTION to
                                Dismiss Indictment/InformationiComplaint      violation of
                                Fourth/Fifth Amendment and Selective Prosecution,5.1.
                                Fourth MOTION to Dismiss
                                Indictment/InformationiComplaint   for failure to allege tax
                                deficiency element,M Sixth MOTION to Dismiss
                                Count(s) One, Two, Three and Four) as to Lindsey Kent
                                Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                                06/23/2009)
    06/23/2009              92 I JOINDER (in [81; 82] Springer's Reply Regarding
                                 Opposition to Springer's Motion to Dismiss; Motion for
                                 Bill of Particulars filed on 6/15/2009; 6/15/2009) as to
                                 Oscar Amos Stilley (Stilley, Oscar) (Entered: 06/23/2009)
    06/25/2009                  SURREPL Y (Re:.il First MOTION to Dismiss,~
                                Second MOTION to Dismiss~          Third MOTION to
                                Dismiss..21 Fourth MOTION to Dismiss,22 Fifth
                                MOTION to Dismiss,M Sixth MOTION to Dismiss,M
                                Seventh MOTION to Dismiss,~         Eighth MOTION to
                                Dismiss) by USA as to Lindsey Kent Springer, Oscar
                                Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009 to
                                change text to reflect correct event and to change links to
                                reflect base motions (sac, Dpty Clk). (Entered:
                                06/25/2009)
:09-cr-00043-SPF
    06/29/2009
                 Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 1
                               NOTICE of Docket Entry Modification; Error: wrong
                               event selected (Reply); wrong links made; Correction:
                               changed text to reflect correct event (Surreply); created
                               links to base motions (Re:..2J.Reply, ) as to Lindsey Kent
                               Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                               06/29/2009)
   06/30/2009                  MOTION to Quash Subpoenas by USA as to Lindsey
                               Kent Springer, Oscar Amos Stilley (With attachments)
                               (O'Reilly, Charles) (Entered: 06/30/2009)
   06/30/2009                  ***Remark: 9 subpoenas returned as to Lindsey Kent
                               Springer (s-srb, Dpty Clk) (Entered: 07/0I/2009)
   07/01/2009                  RESPONSE in Opposition to Motion (Re:...2:lMOTION to
                               Quash Subpoenas) by Lindsey Kent Springer (Springer,
                               Lindsey) (Entered: 07/01/2009)
  07/01/2009                   RESPONSE in Opposition to Motion (Re: 82 MOTION
                               for Bill of Particulars ) by USA as to Lindsey Kent
                               Springer, Oscar Amos Stilley (O'Reilly, Charles)
                               (Entered: 07/01/2009)
  07/0112009                   Clarification of (Re: 94 MOTION to Quash) by USA as
                               to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly,
                               Charles) Modified on 7/2/2009 to correct title of event
                               (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                               (Entered: 07/01/2009)
                         \'4

  07/0112009                   MOTION to Quash subpoena by Eddy Lynn Patterson as
                               to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty
                               Clk) Modified on 7/6/2009 to correct file date (lml, Dpty
                               Clk). (Entered: 07/02/2009)
  07/02/2009                   MINUTES of Proceedings - held before Judge Stephen P
                               Friot: Motion Hearing held on 7/2/2009, ruling on
                               motion( s)/document(s):
                               #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82
                               Granted in Part, Denied in part, #94 Moot,
                               striking/terminating deadline(s)/hearing(s) as to Lindsey
                               Kent Springer, Oscar Amos Stilley (Re:..Q1MOTION to
                               Dismiss Indictment/1nformation/Complaint for fraud and
                               violation of the 5th Amendment,..5!l.Fifth MOTION to
                               Dismiss Indictment/Information/Complaint on Fifth
                               Amendment Grounds,M Seventh MOTION to Dismiss
                               Indictment/Information/Complaint for failure to allege
                               certain specific provisions, 77 MOTION for Hearing
                               (submitted as part of Doc #..li.)..!l2 JOINDER (in [81; 82]
                               Springer's Reply Regarding Opposition to Springer's
                               Motion to Dismiss; Motion for Bill of Particulars filed on
                               6/15/2009; 6/15/2009).J22. JOINDER (in [51-66]
                               Generally dispositive filed on May 15, 2009)~ Third
                               MOTION to Dismiss Indictment/InformationiComplaint
                               pursuant to CIR v. Duberstein,...2:lMOTION to Quash..il
                               First MOTION to Dismiss
                               Indictment/1nfonnation/Complaint for lack of venue,~
                               Second MOTION to Dismiss
                               Indictment/1nformation/Complaint for violations of
                               Paperwork Reduction Act of 1995..fJi Eighth MOTION to
                               Dismiss Indictment/Information/Complaint violation of
                               Fourth/Fifth Amendment and Selective Prosecution,.2l.
                               Fourth MOTION to Dismiss
                               Indictment/Information/Complaint for failure to allege tax
                               deficiency element...12.MOTION to Suppress Grand Jury
                               testimony and evidence~ MOTION for Bill of
                               Particulars~    Sixth MOTION to Dismiss Count(s) One,
                               Two, Three and Four...H. MOTION to Suppress) (Court
09-cr-00043-SPF           Document          ill
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09-cr-00043-SPF Document 367-1
                          Hearing(Filed  in USDC
                                    s)/Deadline(       ND/OK
                                                 s) ) as         on Kent
                                                         to Lindsey 06/01/10
                                                                         Springer Page
                                                                                  (lml,
                                     Dpty Clk) (Entered: 08/04/2009)
   08/04/2009                        ORDER by Judge Stephen P Friot, ruling on
                                     motion(s)/document(s):     #106 Denied (Re: 106 MOTION
                                     to Accelerate/Extend/Reset    Hearing(s)/Deadline(s) ) as to
                                     Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty
                                     Clk) (Entered: 08/04/2009)
   08/05/2009                ill I   RESPONSE in Opposition to Motion (Re:.l!l2 First
                                     MOTION to Dismiss Count(s) I Conspiracy charge) by
                                     USA as to Oscar Amos Stilley (O'Reilly, Charles)
                                     Modified on 8/6/2009 to delete "as to" defendant Springer
                                     (sac, Dpty Clk). (Entered: 08/05/2009)
   08/05/2009                        MOTION to File Out of Time Proposed Jury Instructions
                                     by Lindsey Kent Springer (With attachments) (Springer,
                                     Lindsey) Modified on 8/6/2009 to change text to reflect
                                     correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                                     seal attachment PDF as it was stricken perlli   (sac, Dpty
                                     elk). (Entered: 08/05/2009)
   08/06/2009                        NOTICE of Docket Entry Modification; Error: wrong
                                     event selected (Motion to Accelerate/ExtendIReset
                                     Hearings/Deadlines);  Correction: changed text to reflect
                                     correct event (Motion to File Out of Time) (Re:...lU
                                     MOTION to File Out of Time) as to Lindsey Kent
                                     Springer (sac, Dpty Clk) (Entered: 08/06/2009)
   08/06/2009                        TRANSCRIPT of Proceedings (Unredacted) of Motion
                                     Hearing held on 04/22/2009 before Judge Stephen P Friot
                                     (Court Reporter: Tracy Washboume) (pages: 132).




                                                         (Re: 43 Minutes of Motion Hearing,
                                     Minutes of Scheduling Conference, Ruling on
                                     Motion(s)/Document(s),    Taking Motion(s) Under
                                     Advisement, Setting/Resetting Deadline( s)/Hearing( s» as
                                     to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                                     Clk) Modified on 11/5/2009 to remove transcript access
                                     restriction (a-he, Dpty Clk). (Entered: 08/06/2009)
   08/06/2009                        TRANSCRIPT of Proceedings (Unredacted) of Motions
                                     Hearing held on 7/2/09 before Judge Stephen P Friot
                                     (Court Reporter: Tracy Washboume) (pages: 159).




                                                    (Re:..lilQ Minutes of Motion Hearing,
                                  Ruling on Motion( s)/Document( s), StrikinglTerminating
                                  Deadline(s)/Hearing(s)) as to Lindsey Kent Springer,
                                  Oscar Amos Stilley (pll, Dpty Clk) Modified on 1115/2009
                                  to remove transcript access restriction (a-he, Dpty Clk).
                                  (Entered: 08/0612009)
09-cr-00043-SPF
   08/06/2009   Document 367-1 FiledininOpposition
                          RESPONSE       USDC ND/OKto Motionon(Re:lli
                                                                06/01/10
                                                                      SecondPage
                                MOTION for Bill of Particulars ) by USA as to Lindsey
                                Kent Springer (O'Reilly, Charles) Modified on 817/2009 to
                                delete "as to Oscar Amos Stilley" as this document states
                                it is as to defendant Springer only (sac, Dpty Clk).
                                (Entered: 08/06/2009)
   08/06/2009                  ORDER by Judge Stephen P Friot, ruling on
                               motion(s)/document(s):    #113 Denied,
                               striking/withdrawing   document(s) (Re: 113 MOTION to
                               File Out of Time ) (Documents Terminated: 113
                               MOTION to File Out of Time ) as to Lindsey Kent
                               Springer (pH, Dpty Clk) (Entered: 08/06/2009)
   08/0712009                  MOTION to Reconsider (Re:.lll. Order, Ruling on
                               Motion(s)/Document(s),   117 Order" Ruling on
                               Motion( s)/Document( s), Ruling on
                               Motion( s)/Document( s), StrikinglWithdrawing
                               Document(s), Striking/Withdrawing     Document(s)) by
                               Lindsey Kent Springer (Springer, Lindsey) (Entered:
                               08/07/2009)
   08/12/2009                  RESPONSE in Opposition to Motion (Re:..l.18. MOTION
                               to Reconsider) by USA as to Lindsey Kent Springer
                               (O'Reilly, Charles) (Entered: 08/12/2009)
   08/12/2009                  OBJECTION to Proposed Jury Instructions (Re: 108
                               Proposed Jury Instructions) by USA as to Oscar Amos
                               Stilley (With attachments) (O'Reilly, Charles) (Entered:
                               08/12/2009)
   08/12/2009                  REPL Y to Response to Motion (Re: 105 Second
                               MOTION for Bill of Particulars ) by Lindsey Kent
                               Springer (Springer, Lindsey) (Entered: 08/12/2009)
   08/1212009                  REPLY to Response to Motion (Re: 118 MOTION to
                               Reconsider) by Lindsey Kent Springer (Springer,
                               Lindsey) (Entered: 08/12/2009)
   08/12/2009                  Eighth MOTION to Dismiss Count(s) One, Two, Three,
                               Four, Five and Six (Re:.2. Indictment) by Lindsey Kent
                               Springer (Springer, Lindsey) (Entered: 08/12/2009)
   08/12/2009                  Eighth BRIEF in Support of Motion (Re:.l.ll Eighth
                               MOTION to Dismiss Count(s) One, Two, Three, Four,
                               Five and Six ) by Lindsey Kent Springer (Springer,
                               Lindsey) (Entered: 08/12/2009)
   08/13/2009                  RESPONSE in Opposition to Motion (Re:.l.ll Eighth
                               MOTION to Dismiss Count(s) One, Two, Three, Four,
                               Five and Six ) by USA as to Lindsey Kent Springer
                               (O'Reilly, Charles) (Entered: 08/13/2009)
   08/13/2009             .ll6. I NOTICE of Intent to Use Expert Witness Testimony by
                                  USA as to Lindsey Kent Springer, Oscar Amos Stilley
                                  (O'Reilly, Charles) (Entered: 08/13/2009)
   08/17/2009                  ORDER by Judge Stephen P Friot, ruling on
                               motion(s)/document(s):    #118 denied (Re:.lll Order,

                               ill
                               Ruling on Motion--1l1 Order, Ruling on Motion); (Re:
                                    MOTION to Reconsider) as to Lindsey Kent
                               Springer (kjp, Dpty Clk) Modified on 8/18/2009 to add
                               links to # Ill, 117 (kjp, Dpty Clk). (Entered: 08/17/2009)
   08/17/2009                  OBJECTION to Proposed Jury Instructions (Re:..1.Q1
                               Proposed Jury Instructions) as to Lindsey Kent Springer
                               (With attachments) (Springer, Lindsey) (Entered:
                               08/17/2009)
4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 18
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                                132    II ORDER
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      Springer,as
      charge,llito
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             Clk:)(Entered:
      08/19/2009)
      Lindsey)
      (Joinder
       No.   131      (Re: (14
                     Dismiss
               (Re:lli
                    MOTION
                    Oscar
                      Charles)
                     to
             government     as
                            to  140
                            (With
                          Lindsey
                          Stilley
                           Kent
                              event
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                             Amos
                            (lml,
                         Motion
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                          Correction:
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                            (Snoke,
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                    is Motion)
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                         Eighth  Amos
                                  Dismiss
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               motion(s)/document(s):
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                                     Brief
                                  Count(s)NOTICE
                                          MOTION
                                        Reply
                                          09/16/2009)
                                          (tjc,
                                          filed
                                              in
                                     (Re:..l!lliFiled
                                            Kenneth)
                                      08/19/2009)
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                                         (Stilley,
                                      Lindsey
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                                                            Summary
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                                                 on           Subpoena(s)
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                                                                Dpty
                                                                (Entered:
                                                      09/10/2009)
                                                           Springer,
                                                             filed
                                                     (O'Reilly,
                                                            as
                                                      8/12/09,8/19/09)
                                              Clk:).(Entered:
                                                  1Support#105
                                                     Conspiracy
                                                    Proposed   of    on
                                                                Kenneth)
                                                                to       Oscar)
                                                                    Three,
                                                                     08/20/2009)
                                                                   Bill
                                                                   LindseyAmos
                                                                          Oscar
                                                                    09/21/2009)
                                                                  denied;
                                                                  Motion,
                                                                  Jurycharge)   Proposed
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                                                                              Indictment
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                                                                                    event  Rule
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                                                                              08/20/2009)
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                                                                                    Stilley
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                                                                        Count(s)
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                                                                          of           Five
                                                                              Particulars,
                                                                                     One,
                                                                               09/21/2009)
                                                                          8/12/09)
                                                                   Charles)    as
                                                                             109  Amos
                                                                                   to
                                                                               Reply
                                                                                   by
                                                                         Instructions as
                                                                              (Entered:
                                                                                Kent
                                                                                 (Entered:
                                                                                      Oscar
                                                                                   denied; to
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                                                                              08/1712009)        Summary
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                                                                                                 #123Oscar
                                                                                                  to17Six     of
                                                                                                             Amos
                                                                                                       by Lindsey    Kent
                 Indictment
              Stilley
                Springer      byOscar)
                      (Stilley,  USALindsey)
                          (Springer,   as to Lindsey
                                       Modified      Kent09/21/2009)
                                                (Entered:  Springer,
                                                  on 9/22/2009       Oscar
                                                               to reflect
4:09-cr-00043-SPF
     09/21/2009
                  Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 19
                                TRIAL BRIEF as to Lindsey Kent Springer (With
                                attachments) (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                  NOTICE Summary of Indictment by Lindsey Kent
                                Springer (Springer, Lindsey) Modified on 9/22/2009 to
                                reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
    09/21/2009                  First MOTION in Limine by Lindsey Kent Springer
                                (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                 Second MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                 Third MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                 Fourth MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                 Fifth MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009          .H2.   I MOTION in Limine regarding hearsay and confrontation
                               issues by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                               09/21/2009)
    09/21/2009                 Sixth MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009                 Seventh MOTION in Limine by Lindsey Kent Springer
                               (Springer, Lindsey) (Entered: 09/21/2009)
    09/21/2009          152 I MOTION for Subpoena(s) pursuant to Rule 17(b) by
                              Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/21/2009)
    09/21/2009          ill I BRIEF in Support of Motion (Re:.J.22.MOTION for
                              Subpoena( s) pursuant to Rule 17(b) ) by Oscar Amos
                               Stilley (Stilley, Oscar) (Entered: 09/21/2009)
    09/21/2009                 OBJECTION to Prosecution 404(b) (Re:~        Notice
                               (Other) ) by Lindsey Kent Springer (Springer, Lindsey)
                               Modified on 9/22/2009 to reflect correct event (tjc, Dpty
                               Clk). (Entered: 09/21/2009)
    09/21/2009          ill I JOINDER   (in [141, 142, 144, 145, 146, 147, 148, 150,
                              and 151] Motions in Limine, for subpoenas pursuant to
                               Rule 17(b), and trial brief filed on 9-21-09) as to Oscar
                               Amos Stilley (Stilley, Oscar) (Entered: 09/22/2009)
    09/22/2009                 NOTICE of Docket Entry Modification; Error: This was
                               filed using the incorrect event (Motion for Miscellaneous
                               Relief); Correction: Edited docket text to reflect correct
                               event (Notice) (Re:..l.l2.MOTION Government's Proposed
                               Summary of Indictment ) as to Lindsey Kent Springer,
                               Oscar Amos Stilley (tjc, Dpty Clk) (Entered: 09/22/2009)
    09/22/2009                 NOTICE of Docket Entry Modification; Error: This was
                               filed using the incorrect event (Motion for Miscellaneous
                               Relief); Correction: Edited docket text to reflect correct
                               event (Notice) (Re:..J..1QMOTION Summary of Indictment
                               ) as to Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                               09/22/2009)
    09/22/2009                 NOTICE of Docket Entry Modification; Error: This was
                               filed using the incorrect event (Motion for Miscellaneous
                               Relief); Correction: Edited docket text to reflect correct
                               event (Notice) (Re: 143 MOTION Summary of Indictment
                               ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                               09/22/2009)
4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 20
     09/22/2009
           MINUTE
           REPLY
           ORDER to
           SEALED
           ORDER
           RESPONSE
           MOTION
      further
        Boulder
      Rule
       hearing
        under
      Dpty
       Limine,
       hearsay
       09/28/2009)
       09/25/2009)
       as
      (Re: to
       under
       Clk)
      pursuant
       hearing,
       Springer
       10/9/2009;
       10/21/2009
       TAKE
       eventLindsey
       Deadline(
       Lindsey
       MOTION
                   ORDER
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                  by
                  by Response
                      Judge
                    Emergency
                    TAKE
                      Judge
                  notice,
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                   144
                   and
                   Kent  17)
              17(b)...J.j&
              Lindsey
              145
                RuleSecond
              (Entered:
       Relief);
       09/24/2009) (Re:-1j2
                 RULE
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       attachments)
      Amos
       to       Stilley
           Lindsey      Kent
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                    Courthouse,
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                       in Opposition
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       deadline(s)lhearing(s):
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                                   hearings
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                   Correction;09/23/2009)
                             15 Order"
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                                       09/25/2009)
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                                  DEPOSITION)
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                                                                        Miscellaneous
                                                                        Springer,       Oscar
4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 21
    09/30/2009               Fourth MOTION for Bill of Particulars by Lindsey Kent
                             Springer (Springer, Lindsey) (Entered: 09/30/2009)
    09/30/2009               MOTION to Reconsider (Re:..llfi Order" Rilling on
                             Motion(s)/Document(s), Ruling on
                             Motion(s)/Document(s» by Lindsey Kent Springer
                             (Springer, Lindsey) Modified on 10/1/2009; this is a
                             two-part motion of which only one part was efiled - see
                             169 for Motion to Clarity (sac, Dpty Clk). (Entered:
                             09/30/2_00_9~)              _
    09/30/2009               MOTION Daubert Hearing by Lindsey Kent Springer
                             (Springer. Lindsey) (Entered: 09/30/2009)
    09/30/2009               MOTION to Clarity (submitted as part 01.167) (Re: 136
                             Order" Rilling on Motion(s)/Document(s), Ruling on
                             Motion(s)/Document(s» by Lindsey Kent Springer (sac.
                             Dpty Clk) (Entered: 10/0112009)
    10/0112009               NOTICE of Docket Entry Modification; Error: this is a
                             two-part motion of which only one part was efiled;
                             Correction: efiled Motion to Clarity - see 169 (Re:...lQ1
                             MOTION to Reconsider) as to Lindsey Kent Springer
                             (sac. Dpty Clk) (Entered: 10/0112009)
    10/0112009          l1Q I SEALED DOCUMENT (O'Reilly. Charles) Modified on
                              10/2/2009 to correct title of event (lml. Dpty Clk).
                              (Entered: 10/01/2009)
    10/0112009               RESPONSE in Opposition to Motion (Re: 168 MOTION
                             Daubert Hearing) by USA as to Lindsey Kent Springer
                             (O'Reilly. Charles) (Entered: 10/0112009)
    10/05/2009               RESPONSE in Opposition to Motion Supplemental (Re:
                             ill SEALED DOCUMENT) by Lindsey Kent Springer
                             (Springer. Lindsey) Modified on        to seal pdf
                                                              101712009
                             pursuant to Court Order #.l.8.Q(s-srb. Dpty Clk).
                             (Entered: 10/05/2009)
    10/05/2009               RESPONSE in Opposition to Motion (Re: 145 Second
                             MOTION in Limine..llQ Sixth MOTION in Limine •....l.:l!i
                             Third MOTION in Limine~            MOTION in Limine
                             regarding hearsay and confrontation issues.~
                             JOINIT)ER(in[141. 142. 144, 145. 146, 147. 148. 150.
                             and 151] Motions in Limine. for subpoenas pursuant to
                             Rule 17(b). and trial brief filed on 9- 21-09),.,H8, Fifth
                             MOTION in Limine, 144 First MOTION in Limineo-..ill
                             Seventh MOTION in Limine...M1 Fourth MOTION in
                             Limine) by USA as to Lindsey Kent Springer. Oscar
                             Amos Stilley (O'Reilly. Charles) (Entered: 10/05/2009)
    10/05/2009               SEALED MOTION (O'Reilly. Charles) (Entered:
                             10/05/2009)
    10/05/2009          ill! RESPONSE in Opposition to Motion (Re: 152 MOTION
                             for Subpoena(s) pursuantto Rule 17(b). 155 JOINIT)ER(in
                             [141.142,144.145,146.147.148.150,       and 151] Motions
                             in Limine. for subpoenas pursuant to Rule 17(b), and trial
                             brief filed on 9-21-09)..l±l MOTION for Subpoena(s)
                             under Rule 17) by USA as to Lindsey Kent Springer.
                             Oscar Amos Stilley (O'Reilly. Charles) (Entered:
                             10/05/2009)
    10/05/2009          176 I RESPONSE in Opposition to Motion (Re:.l!i2. MOTION
                              TAKE RULE 15 DEPOSITION) by Oscar Amos Stilley
                              (Stilley. Oscar) (Entered: 10/05/2009)
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           ***Remark:
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            (Re:
       Compel
      Court's
      (Snoke, CIk).
             using
             Lindsey
              Clk)
              as
      10/15/2009  to
                       arrest
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                   MOTION
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             ORDER bybyJudge
                 )RESPONSE
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      motion(s)/document(s):
      Clk)
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                       (Re:~ Stephen
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4:09-cr-00043-SPF Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 24
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     (O'Reilly,
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     Oscar)
     Regarding        to
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                                      asheld
                                     briefOscar
                                     10/21/2009,Stephen
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                        Limine...ll2 MOTION
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            NOTICE
            RESPONSE
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     Oscar
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     AmosLindsey
     (Stilley,
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    issues)
   date(s):
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   Attachments
    11/02/2009)
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   attachments)
    as to     (Jury
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               MOTION
              NOTICE
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   Motion(s)/Document(s),
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   on  Lindseycontinued
    11101/2009)
       SEAL  Stilley
        forLindsey  Kent
                   at
   deadline(s)/hearing(s):
   Reporter:
   Judge
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   #145
   Friot)
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   Motion(s)lDocument(s),
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                    Document 367-1 Filed in USDC ND/OK on 06/01/10 Page 2
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                                           INSTRUCTIONS
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                                                                              Venue
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                event
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                               motion(s)/document(s): #259 Granted,
                               striking/withdrawing document(s) (Re:~       MOTION to
                               Strike Document(s)",lli MOTION for Judgment of
                               Acquittal and MOTION for New Trial,.221 Reply to
                               Response to Motio~         Reply to Response to Motion,
                               26D.MOTION for Judgment of Acquittal~          MOTION
                               for New Trial) (Documents Terminated:~        Reply to
                               Response to Motion...26.l MOTION for Judgment of
                               Acquittal and MOTION for New Trial,.2j,B,Reply to
                               Response to Motion..26.QMOTION for Judgment of
                               Acquittal) as to Lindsey Kent Springer, Oscar Amos
                               Stilley (pll, Dpty Clk) (Entered: 12/09/2009)
   12/10/2009                  MOTION to Vacate/Set Aside Order dated December 9,
                               2009, MOTION Reinstate Docket # 257 and # 260 as
                               properly filed under Local Criminal Rilles 12.1, MOTION
                               10 days from date of order to refile docket # 257 and #
                               260 in accordance with Local Civil Rille 7.2 including
                               extended page number therein (Re:.,2M Order", Ruling on
                               Motion(s)/Document(s), Ruling on
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                               Document(s), StrikinglWithdrawing Document(s),
                               StrikinglWithdrawing Document(s)",.2ll Reply to
                               Response to Motion...2!iQ.MOTION for Judgment of
                               Acquittal) by Lindsey Kent Springer (Springer, Lindsey)
                               (Entered: 12/10/2009)
   12/11/2009                 RESPONSE in Opposition to Motion (Re:..2.Qj,MOTION
                              to Vacate/Set Aside Order dated December 9, 2009
                              MOTION Reinstate Docket # 257 and # 260 as properly
                              filed under Local Criminal Rules 12.1 MOTION 10 days
                              from date of order to refile docket # 257 and # 260 in
                              accordance with Local Civil Rule 7.2 including extended
                              page number therein) by USA as to Lindsey Kent
                              Springer (With attachments) (O'Reilly, Charles) (Entered:
                              12/11/2009)
   12/14/2009                 MOTION to Reconsider (Re:.,2M Order", Ruling on
                              Motion(s )/Document(s), Rilling on
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                              Motion( s)IDocument(s), StrikinglWithdrawing
                              Document(s), StrikinglWithdrawing Document(s),
                              StrikinglWithdrawing Document(s)",) by Oscar Amos
                              Stilley (Stilley, Oscar) (Entered: 12/14/2009)
   12/14/2009            2.2a IBRIEF in Support of Motion (Re:..2Q1MOTION to
                               Reconsider) by Oscar Amos Stilley (Stilley, Oscar)
                               (Entered: 12/14/2009)
   12/15/2009                 RESPONSE in Opposition to Motion (Re:..2Q1MOTION
                              to Reconsider) by USA as to Oscar Amos Stilley
                              (O'Reilly, Charles) (Entered: 12/15/2009)
   12/28/2009                 AFFIDAVIT of Lindsey K. Springer pursuant to Title 28,
                              Section 144 as to Lindsey Kent Springer (With
                              attachments) (Springer, Lindsey) (Entered: 12/28/2009)
   12/28/2009                 MOTION Disqualify, Recuse, Removal and for Random
                              Reassignment by Lindsey Kent Springer (Springer,
                              Lindsey) (Entered: 12/28/2009)
   12/28/2009                 BRIEF in Support of Motion (Re:.21l MOTION
                              Disqualify, Recuse, Removal and for Random
                              Reassignment) by Lindsey Kent Springer (With
                              attachments) (Springer, Lindsey) (Entered: 12/28/2009)
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    12/28/2009  Document 367-1 Filed
                          MOTION      in USDC
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                                 Opposition to Motion,~     MOTION to Strike
                                 Document(s) ) by Lindsey Kent Springer (Springer,
                                 Lindsey) (Entered: 12/28/2009)
   12/28/2009                    REPL Y to Response to Motion (Re:.lUj, MOTION to
                                 Vacate/Set Aside Order dated December 9, 2009
                                 MOTION Reinstate Docket # 257 and # 260 as properly
                                 filed under Local Criminal Rules 12.1 MOTION 10 days
                                 from date of order to refile docket # 257 and # 260 in
                                 accordance with Local Civil Rule 7.2 including extended
                                 page number therein) by Lindsey Kent Springer
                                 (Springer, Lindsey) (Entered: 12/28/2009)
   12/29/2009             ;;:l    SEALED DOCUMENT
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   01107/2010                    RESPONSE in Opposition to Motion (Re:..2Q2 MOTION
                                 for New Trial) by USA as to Lindsey Kent Springer
                                 (O~eilly, Charles) (Entered: 01107/2010)
   01107/2010                    RESPONSE in Opposition to Motion (Re:.21l MOTION
                                 DisqualifY, Recuse, Removal and for Random
                                 Reassignment)   by USA as to Lindsey Kent Springer
                                 (With attachments) (O~eilly, Charles) (Entered:
                                 01107/2010)
   01112/2010             218.   I ORDER by Judge Stephen P Friot, ruling on
                                 motion(s)/document(s):   #254 Denied (Re:~     MOTION
                                 To provide transcript at public expense) as to Oscar
                                 Amos Stilley (pll, Dpty elk) (Entered: 01112/2010)
   01120/2010             21!l   I MOTION  for Leave to Exceed Page Limitation in Reply
                                 Regarding Springer's Motion for New Trial, by Lindsey
                                 Kent Springer (Springer, Lindsey) (Entered: 01/20/2010)
   01120/2010                    MOTION to Dismiss Count(s) ONEfor lack of Article III
                                 Subject Matter Jurisdiction, Article III Jurisdiction of the
                                 Facts and Article III Venue (Re:.2. Indictment) by
                                 Lindsey Kent Springer (Springer, Lindsey) (Entered:
                                 01120/2010)
   01120/2010                    BRIEF in Support of Motion (Re:..2&! MOTION to
                                 Dismiss Count(s) ONEfor lack of Article III Subject
                                 Matter Jurisdiction, Article III Jurisdiction of the Facts
                                 and Article III Venue) by Lindsey Kent Springer (With
                                 attachments) (Springer, Lindsey) (Entered: 01120/2010)
   01120/2010                    MOTION to Dismiss Count(s) Two, Three, Four, Five and
                                 Sixfor Lack of Article III Subject Matter Jurisdiction,
                                 Article III Jurisdiction of the Facts and Article III Venue
                                 (Re:..2. Indictment) by Lindsey Kent Springer (Springer,
                                 Lindsey) (Entered: 01120/2010)
   01120/2010                    BRIEF in Support of Motion (Re:.2.82. MOTION to
                                 Dismiss Count(s) Two, Three, Four, Five and Sixfor Lack
                                 of Article III Subject Matter Jurisdiction, Article III
                                 Jurisdiction of the Facts and Article III Venue) by
                                 Lindsey Kent Springer (Springer, Lindsey) (Entered:
                                 01120/2010)
   01120/2010                     MOTION to Dismiss IndictmentlInfonnationiComplaint
                                 for lack of Article III Standing of United States of
                                 America, (2) lack of Article III Case or Controversy, (3)
                                 for violation of Title 28, United States Code, Section 547,
                                  and accompanying briefin support thereof(Re:..2.
                                  Indictment) by Lindsey Kent Springer (Springer,
                                  Lindsey) (Entered: 01/20/2010)
09-cr-00043-SPF      Document      367-1      Filed
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            MOTION to Dismiss Count(s) One, Two, Three, Four,
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